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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN


 FRIENDS OF BLUE MOUND STATE
 PARK,

                  Plaintiff,
                                                          Case No. 21-cv-676
       vs.

 WISCONSIN DEPARTMENT OF
 NATURAL RESOURCES,
 STEVEN SCHMELZER,
 MELISSA VANLANDUYT,

                  Defendants.


                               DECLARATION OF BRIAN H. POTTS


       I, Brian H. Potts, declare as follows:

       1.      I have personal knowledge of the facts stated herein and, if called upon to do so,

could and would testify competently thereto. I state that the following is true and correct to the

best of my knowledge and belief.

       2.      I am employed by Perkins Coie LLP and am an attorney representing Plaintiff

Friends of Blue Mound State Park (the “Friends”). My business address is 33 East Main Street,

Madison, WI 53703.

       3.      On August 15, 2022, I sent the Wisconsin Department of Justice an email

requesting additional documents to be produced. A true and correct copy of that email is attached

hereto as Exhibit 1.

       4.      On August 26, 2022, the Friends submitted a public records request to the

Wisconsin Department of Natural Resources. A true and correct copy of that request is attached

hereto as Exhibit 2.



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       5.      On December 5, 2022, while reviewing the documents produced via the public

records request, the Friends found a document containing a statement by one of the primary

witnesses in this case, Missy VanLanduyt. A true and correct copy of that document is attached

hereto as Exhibit 3.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury, under the laws of the

United States, that the foregoing is true and correct to the best of my knowledge.



       Executed on December 14, 2022


                                               By: /s/ Brian H. Potts

                                                    Brian H. Potts




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